       Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 1 of 17




                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

______________________________
                                  )
E. JEAN CARROLL,                  )
                                  )
                       Plaintiff, )
                                  )      ECF Case
         v.                       )
                                  )      No. 1:20-cv-7311 (LAK)
DONALD J. TRUMP,                  )
 in his personal capacity,        )
                                  )
                Defendant.        )
______________________________)


          MOTION OF GOVERNMENT ACCOUNTABILITY PROJECT
         FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF
         PLAINTIFF’S OPPOSITION TO THE MOTION OF THE UNITED
            STATES TO SUBSTITUTE ITSELF AS THE DEFENDANT


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October 5, 2020



                                          i
          Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 2 of 17




                                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES …………………………………………………………………. i

INTRODUCTION ..................................................................................................................... 1

GROUNDS FOR GRANTING THE MOTION ........................................................................ i

CONCLUSION ………………………………………………………………………………. 5

CERTIFICATE OF SERVICE ………………………………………………………………. 6

PROPOSED ORDER




                                                                 i
           Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 3 of 17




                                                 TABLE OF AUTHORITIES


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  .............................................................................................................................................. 12

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                                                                        ii
            Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 4 of 17




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                                                                        iii
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                                                                    iv
           Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 6 of 17




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        Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 7 of 17




       Amicus curiae, Government Accountability Project, respectfully moves this Court for

leave to file the attached brief in support of Plaintiff E. Jean Carroll’s opposition to the

Motion of the United States to substitute itself as the Defendant in this matter.

                 GROUNDS FOR GRANTING THIS MOTION FOR LEAVE

       In support of its motion for leave to file the attached brief, amicus curiae states:

       Amicus curiae, Government Accountability Project is a non-partisan, non-profit

human and civil rights defense organization specializing in legal advocacy for people who use

free speech rights to expose and challenge abuses of power that betray the public trust.1

Government Accountability Project is an unusually independent and non-partisan

organization.2


   1
        Over the last four decades, Government Accountability Project has represented or
informally assisted more than 8,000 whistleblowers and other truthtellers in actions that have
exposed injustice and corruption in public agencies of almost every State and in the
administrations of every President, Republican and Democrat alike. Since opening in 1977,
Government Accountability Project has become the nation's leading champion of
whistleblowers’ rights, defending them against retaliation that ranges from professional
demotions to criminal prosecutions. Government Accountability Project has a deep
understanding of the factors that encourage and discourage whistleblowers and other
truthtellers, and their supporting witnesses, from coming forward with important information
about our government.
   2
        Government Accountability Project’s independence is reflected in the clients it
represents, the misconduct it opposes, and the variety of institutions that help fund it (e.g.,
Carnegie Foundation, Ford Foundation, Open Society Foundations, and Rockefeller Family
Fund). Government Accountability Project has joined with organizations of all political and
ideological perspectives in amicus briefs in this Court and other federal and state courts (e.g.,
the ACLU, Friends of the Earth, the Liberty Coalition, the Association of American
Physicians & Surgeons, Inc., the League of Women Voters, the American Library
Association, the Anti-Defamation League, and C-SPAN).
    Government Accountability Project’s independence also is reflected in the nearly unique
bipartisan support it enjoys in Congress. Government Accountability Project helped to create
two bipartisan caucuses in Congress — the House Whistleblower Protection Caucus and the
Senate Whistleblower Protection Caucus, both of which are equally divided between
Democrats and Republicans — and it has played a leading role in landmark legislation,
including the Whistleblower Protection Act of 1989 (WPA), Pub. L. 101-12, 103 Stat. 16

                                                 1
         Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 8 of 17




        Government Accountability Project is keenly interested in this case because granting

the United States’ motion to substitute will have two baleful effects. First, granting the motion

will chill whistleblowers and other truthtellers who seek to use the courts to hold prominent

individuals to account for their wrongdoing. Second, granting the motion will embolden those

who hide behind their governmental positions because such a decision will deprive the courts

and the public of the opportunity to judge the merits of the underlying allegations of sexual

abuse and defamation.

        Government Accountability Project is alarmed about the pervasive — and highly

credible — allegations regarding the politicization of the Department of Justice by the Trump

Administration and Attorney General William P. Barr, including their attacks on the judiciary,

and are worried that the instant case represents another example of this troublesome trend.3



(1989), the WPA's 1994 and 2012 amendments, and the Sarbanes-Oxley Act of 2002, Pub. L.
107-204, 116 Stat. 745 (2002).
   3
       As THE WASHINGTON POST explained in May, 2020:
            More than 1,900 former Justice Department employees on Monday
        repeated a call for William P. Barr to step down as attorney general, asserting
        in an open letter he had “once again assaulted the rule of law” by moving to
        drop the case against President Trump’s former national security adviser
        Michael Flynn.
            The letter, organized by the nonprofit Protect Democracy, was signed by
        Justice Department staffers serving in Republican and Democratic
        administrations dating back to President Dwight D. Eisenhower. The vast
        majority were former career staffers — rather than political appointees — who
        worked as federal prosecutors or supervisors at U.S. Attorney’s Offices across
        the country or the Justice Department in downtown Washington.
            Protect Democracy, which counts Justice Department alumni among its
        members, has organized several similar letters critical of Barr’s decisions or
        other Trump administration actions. Most recently, in February, the group
        collected more than 2,600 signatures on a letter calling for Barr to resign after
        he intervened to reduce career prosecutors’ sentencing recommendation for
        Roger Stone, a longtime friend of Trump.


                                                2
       Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 9 of 17




       Among the DOJ alumni who protested Mr. Barr’s unprincipled and unprecedented

intervention in the Stone case were four who had served in high posts in the DOJ: (1) Donald

B. Ayer, (2) Stuart M. Gerson, (3) Jonathan Kravis, and (4) Geoffrey S. Berman, as well

as a client of the Government Accountability Project, (5) John W. Elias, who, as described

below, is a long-tenured, high-ranking, and current DOJ employee who recently testified to

Congress about the unprecedented and alarming politicization of DOJ’s Antitrust Division.

       Thus:

               (1)    In February, 2020, Donald B. Ayer — who had served as former

Principal Deputy Solicitor General and Deputy Attorney General under President George

H.W. Bush — called for Mr. Barr's resignation on politicization grounds, explaining “Bill

Barr's America is not a place that anyone, including Trump voters, should want to go. It is a

banana republic where all are subject to the whims of a dictatorial president and his

henchmen.”4




Matt Zapotosky, More than 1,900 former Justice Dept. employees again call for Barr’s
resignation, THE WASHINGTON POST (May 11, 2020) (emphasis added) available at
https://www.washingtonpost.com/national-security/attorney-general-william-barr-michael-
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Perez, Accusations Mount Against Bill Barr Of Politicizing The Justice Department, FORBES
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bill-barr-of-politicizing-the-justice-department/ #66c3ccf93440; Harry Litman, Bill Barr has
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       Donald B. Ayer, Bill Barr Must Resign, THE ATLANTIC (Feb. 17, 2020) (emphasis
added) available at https://www.the atlantic.com/ideas/archive/2020/02/donald-ayer-bill-barr-
must-resign/606670/.


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       Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 10 of 17




       In September, 2020, Mr. Ayer wrote that Mr. Barr has abused “the office of attorney

general and the resources of the Justice Department to do the personal bidding of President

Donald Trump, to undermine the evenhanded rule of law, and to work in countless other ways

to put the president in a position of nearly autocratic power.”5 According to Mr. Ayer, Mr.

Barr believes that

               the president “alone is the Executive Branch,” possessing
               literally “all Federal law enforcement power, and hence
               prosecutorial discretion.” That includes, Barr is perfectly clear,
               “supervisory authority over [all] cases,” including the right to
               direct the handling of cases involving himself, his friends, or his
               enemies.6

       Finally, Mr. Ayer writes that

               in Barr’s mind, the courts are the principal culprit in
               unjustifiably limiting the extraordinarily broad powers that the
               president is constitutionally entitled to exercise. … Barr
               complains that the judiciary “has appointed itself the ultimate
               arbiter of separation of powers disputes between Congress and
               Executive.” Indeed, he says that courts should play no role
               whatsoever in “constitutional disputes between the other two
               branches” … [and] should refrain from second-guessing the
               executive whenever its conduct involves the exercise of
               “prudential judgment,” on claims of improper “motivation
               behind government action,” or indeed any time when review
               would not be guided by “tidy evidentiary standards and specific
               quantums of proof.” In sum, Barr would foreclose judicial
               review of executive action in pretty much any case where there
               is a debatable issue.7




   5
        Donald B. Ayer, The Fanatic: Bill Barr is convinced that the country is betraying its
founding—and that it’s up to him to stop it, The Atlantic (Sept. 24, 2020) available at
https://www.theatlantic.com/ideas/archive/2020/09/bill-barr-founders/616445/
   6
       Id. (emphasis added; citation omitted).
   7
       Id. (emphasis added).


                                                 4
        Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 11 of 17




               (2)     Also in February, 2020, Stuart M. Gerson — who had headed the

DOJ’s Civil Division under Mr. Barr during the entirety of the Administration of President

George H.W. Bush and had served as the Acting Attorney General in the Administrations of

both the first President Bush and President William J. Clinton — likewise lamented the DOJ’s

astonishing politicization, questioning “‘whether DOJ stands for the rule of law or for the rule

of an authoritarian administration.’”8 Mr. Gerson wrote that Mr. Barr’s “low-ball

recommendation [regarding Mr. Stone’s sentencing] gives more of a whiff of favoritism than

it does of principle. Indeed, one cannot recall any similar leniency being ordered in any other

case, particularly in the host of cases that the government brings against members of minority

groups or those who are economically disadvantaged.”9

               (3)     In May, Jonathan Kravis — who had been Deputy Chief of the Fraud

and Public Corruption Section of the U.S. Attorney’s Office for the District of Columbia and,

in that role, had been the lead prosecutor on United States v. Roger Stone before Mr. Barr

intervened in that case — explained why he resigned from the DOJ after Barr’s

unprecedented and unprincipled intervention in the Stone case. In an op-ed in THE

WASHINGTON POST, Kravis asserted that in both the Michael Flynn and Roger Stone cases Mr.

Barr’s DOJ “put political patronage ahead of its commitment to the rule of law,” which “will

do lasting damage to the institution.”10 Mr. Kravis wrote:


   8
        Asher Stockler, Former Barr Deputy Says Intervention in 'Crony' Roger Stone Case
Reeks of 'Favoritism', NEWSWEEK (Feb. 25, 2020) (emphasis added) available at
https://www.newsweek.com/william-barr-stuart-gerson-roger-stone-1489095.
   9
       Stuart M. Gerson, Let the Rule of Law Rule Law Enforcement: Reflections on the
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org/68803/let-the-rule-of-law-rule-law-enforcement-reflections-on-the-current-attorney-
generals-tenure/
   10
        Jonathan Kravis, I left the Justice Department after it made a disastrous mistake. It

                                                5
        Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 12 of 17




               In both cases, the department undercut the work of career
               employees to protect an ally of the president, an abdication of
               the commitment to equal justice under the law. Prosecutors
               must make decisions based on facts and law, not on the
               defendant’s political connections. When the department takes
               steps that it would never take in any other case to protect an ally
               of the president, it betrays this principle.11

               (4)    Similarly, on July 9, 2020, Geoffrey S. Berman — the former U.S.

attorney for the Southern District of New York — expressed “serious concerns” to the House

Judiciary Committee about Mr. Barr’s sudden, devious, and unethical behavior in removing

him from the U.S. Attorney Office’s which had been supervising the investigations and

prosecutions of several of Mr. Trump’s former and current political associates, including

Michael D. Cohen and Rudolph W. Giuliani.

               Referring to Barr’s decision to release a memo that erroneously
               stated that Berman had resigned and would be replaced on a
               temporary basis by someone outside the office, Berman told
               committee Chair Jerrold Nadler, “I do not know what the
               Attorney General's motives were, but the irregular and
               unexplained actions by the Attorney General raised serious
               concerns for me.”12

        Government Accountability Project has a unique perspective on the DOJ’s




just happened again, THE WASHINGTON POST (May 11, 2020) (emphasis added) available at
https://www.washingtonpost.com/opinions/2020/05/11/i-left-justice-department-after-it-
made-disastrous-mistake-it-just-happened-again/.
   11
        Id. (Emphasis added).
   12
       Jacob Schultz, What Did Geoffrey Berman Tell the House Judiciary Committee?,
Lawfare (July 16, 2020) (emphasis added) available at https://www.lawfareblog.com/what-
did-geoffrey-berman-tell-house-judiciary-committee. See Benjamin Weiser, Ben Protess,
Katie Benner and William K. Rashbaum, Inside Barr’s Effort to Undermine Prosecutors in
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updated July 22, 2020) available at https://www.nytimes.com/2020/06/25/nyregion/geoffrey-
berman-william-barr-michael-cohen.html


                                                6
        Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 13 of 17




politicization under Mr. Barr. Thus, for example, Government Accountability Project recently

represented a fifth long-tenured and high-ranking DOJ employee — John W. Elias, who

remains a DOJ Antitrust Division employee — with respect to his June 24, 2020 testimony

before Congress.13

        Mr. Elias testified that “at the direction of Attorney General Barr, the [DOJ’s]

Antitrust Division launched ten full-scale reviews of merger activity taking place in the

marijuana, or cannabis, industry,” investigations that “do not meet established criteria for

antitrust investigations,” such as any credible threat to competition, but instead were

prompted solely by Mr. Barr’s moralistic and “[p]ersonal dislike of the [cannabis] industry

….”14

        This Court often has granted non-parties leave to file amicus briefs in cases




   13
        Mr. Elias “held leadership positions both in the Trump Administration, where [he]
acted as Chief of Staff in the Antitrust Division from January 2017 to October 2018, and in
the Obama Administration, where [he] served as a Deputy Associate Attorney General and
Chief of Staff in the Office of the Associate Attorney General.” Oversight of the Dept. of
Justice: Political Interference and Threats to Prosecutorial Independence: Hearing Before
the House Committee on the Judiciary, 116 Cong. XX (2020) (Statement of John W. Elias)
(June 24, 2020) at 1, available at https://docs.house.gov/meetings/JU/JU00/20200624/
110836/HHRG-116-JU00-Wstate-EliasJ-20200624-U8.pdf.
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Bill Baer, Think the DOJ’s Antitrust Division is immune from political meddling? Think
again, THE WASHINGTON POST (June 24, 2020) available at https://www.washingtonpost.com
/ opinions/2020/06/24/think-dojs-antitrust-division-is-immune-political-meddling-think-
again/ (summarizing (discussing Mr. Elias’ allegations); Nicholas Fandos, Katie Benner and
Charlie Savage, Justice Dept. Officials Outline Claims of Politicization Under Barr, THE NEW
YORK TIMES (June 24, 2020; updated July 10, 2020) available at https://www.nytimes.com/
2020/06/24/us/politics/justice-department-politicization.html (discussing the allegations of,
inter alia, Mr. Elias)


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        Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 14 of 17




implicating the public interest.15 This principle applies even when—as now—matters of broad

public concern are raised in disputes between private parties.16

        “Participation as amicus curiae … is appropriate when the party cares only about the

legal principles of the case, and has no personal, legally protectable interest in the outcome of

the litigation.”17 As Judge Carter suggested— quoting Judge Posner “‘[a]n amicus brief




   15
        See, e.g., Universal City Studios, Inc. v. Reimerdes, 111 F. Supp. 2d 294, 304 n.2
(S.D.N.Y. 2000) (LAK), aff'd, 273 F.3d 429 (2d Cir. 2001); United States v. KPMG LLP, 99
A.F.T.R.2d 2007-1118 (LAK), 2007 WL 541956, at *2 (S.D.N.Y. Feb. 15, 2007).
    Other courts in this District frequently do the same, especially in cases — as here —
involving “an issue of great public concern.” Floyd v. City of New York, 283 F.R.D. 153, 159,
82 (S.D.N.Y. 2012) (Scheindlin, J.). See also Natural Resources Def. Council, Inc. v. U.S.
Envtl. Protec. Agency, 438 F. Supp. 3d 220, 224 n.1 (S.D.N.Y. 2020); State of New York v.
Deutsche Telekom AG, 439 F. Supp. 3d 179, 225 n.21 (S.D.N.Y. 2020); State of New York v.
U.S. Immig. and Customs Enf't, 431 F. Supp. 3d 377, 382 (S.D.N.Y. 2019); Rivera v. Fed.
Bureau of Prisons, 368 F. Supp. 3d 741, 745 n.3 (S.D.N.Y. 2019); Consumer Finan. Protec.
Bureau v. RD Leg. Funding, LLC, 332 F. Supp. 3d 729, 750 (S.D.N.Y. 2018); United States v.
Apple, Inc., 889 F. Supp. 2d 623, 630 (S.D.N.Y. 2012); In re Terrorist Attacks on September
11, 2001, 689 F. Supp. 2d 552, 558 (S.D.N.Y. 2010); United States v. IBM., 539 F. Supp. 473,
475 (S.D.N.Y. 1982).
   16
        See Goldman v. Breitbart News Network, LLC, 302 F. Supp. 3d 585, 596 (S.D.N.Y.
2018); Coalition for Competitive Elec., Dynegy Inc. v. Zibelman, 272 F. Supp. 3d 554, 561
(S.D.N.Y. 2017), aff'd sub nom., 906 F.3d 41 (2d Cir. 2018). See also In re Lehman Bros.
Holdings Inc. v. Intel Corp., No. 08-13555, 2015 WL 7194609, at *4 (S.D.N.Y. Sept. 16,
2015); Associated Press v. Meltwater U.S. Holdings, Inc., 931 F. Supp. 2d 537, 553
(S.D.N.Y. 2013); In re American Intern. Group, Inc. Securities Litig., 916 F. Supp. 2d 454,
462 (S.D.N.Y. 2013); Ognibene v. Parkes, No. 08 Civ. 1335(LTS)(FM)., 2013 WL 1348462,
at *1 (S.D.N.Y. Apr. 4, 2013); American Broad. Companies, Inc. v. AEREO, Inc., 874 F.
Supp. 2d 373, 404 (S.D.N.Y. 2012), aff'd sub nom. WNET, Thirteen v. Aereo, Inc., 712 F.3d
676 (2d Cir. 2013), rev'd and remanded on other grnds, 573 U.S. 431 (2014); Texaco, Inc. v.
Pennzoil Co., 626 F. Supp. 250, 252 (S.D.N.Y. 1986), aff'd as modified and remanded, 784
F.2d 1133 (2d Cir. 1986), rev'd, 481 U.S. 1 (1987); In re Union Carbide Corp. Gas Plant
Disaster at Bhopal, India in December, 1984, 634 F. Supp. 842, 860 (S.D.N.Y. 1986), aff'd as
modified, 809 F.2d 195 (2d Cir. 1987).
   17
       Russell v. Bd. of Plumbing Examiners of Cty of Westchester, 74 F. Supp. 2d 349, 351
(S.D.N.Y. 1999) (citing MOORE'S FEDERAL PRACTICE DIGEST 3D § 24.23 [2]), aff'd, 1 Fed.
Appx. 38 (2d Cir. 2001).


                                                8
        Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 15 of 17




should normally be allowed when … the amicus has unique information or perspective that

can help the court beyond the help that lawyers for the parties are able to provide.’”18

        The proposed, attached brief of amicus curiae plainly satisfies these standards. Amicus

have no personal, legally cognizable interest in the outcome of the pending litigation. Instead,

it cares exclusively in safeguarding the public’s interest in the legal principles at stake in the

case. Furthermore, amicus’ experience has given it unique insights and perspectives that can

assist the Court in ways the parties’ and movant’s counsel may not be able to do.

        Counsel for Ms. Carroll has consented to the filing of the attached amicus brief.

Counsel for the United States has advised the undersigned that it will oppose this filing.




   18
        Lehman XS Tr., Series 2006-GP2 v. Greenpoint Mortgage Funding, Inc., 12 CIV.
7935 (ALC), 2014 WL 265784, at *2 (S.D.N.Y. Jan. 23, 2014) (emphasis added; quoting
Ryan v. Commodity Futures Trading Comm'n, 125 F.3d 1062, 1063 (7th Cir. 1997) (Posner,
J.)). See Women for Am. First v. De Blasio, 20 CIV. 5746 (LGS), 2020 WL 4904057, at *2
(S.D.N.Y. Aug. 18, 2020); C & A Carbone, Inc. v. Cty. of Rockland, NY, 78 ERC 2037 (ER),
2014 WL 1202699, at *3 (S.D.N.Y. Mar. 24, 2014); Auto. Club of N.Y. Inc. v. Port Auth. of
N.Y. & N.J., 11 Civ. 6746 (RJH), 2011 WL 5865296, at *1–2 (S.D.N.Y. Nov. 22, 2011).


                                                 9
       Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 16 of 17




                                          CONCLUSION

        For the foregoing reasons, amicus curiae, Government Accountability Project, urges

this Court to grant it leave to file the attached brief.

        A proposed order is enclosed with this motion.

                                        Respectfully submitted by:

                                        /s/ Jack Kolar
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Dated: October 5, 2020




                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 5, 2020, the foregoing document was filed with the

Clerk of the Court, using the CM/ECF system, causing it to be served on all counsel of record.



Dated: October 5, 2020                           /s/ Jack Kolar
                                                 John A. Kolar




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       Case 1:20-cv-07311-LAK Document 15 Filed 10/05/20 Page 17 of 17




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

______________________________
                                  )
                                  )
E. JEAN CARROLL,                  )
                                  )
                       Plaintiff, )
                                  )            ECF Case
         v.                       )
                                  )            No. 1:20-cv-7311 (LAK)
DONALD J. TRUMP,                  )
 in his personal capacity,        )
                                  )
                Defendant.        )
______________________________)

                                             ORDER

       Upon due consideration of the motion of the Government Accountability Project for

leave to file its proposed brief amicus curiae in support of the Plaintiff, it is hereby

       ORDERED that the motion is GRANTED.



Dated: ___________________                     ________________________
                                               Lewis A. Kaplan
                                               United States District Judge




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